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               IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  United States of America




                   Plaintiff(s),

                        v.                            (CIVIL)(CRIMINAL) NO: 3:21-CR-49
                                                      Criminal
  Jonathan Toebbe
  Diana Toebbe


                 Defendant(s).

                                 '(3$570(172)-867,&(
                         APPLICATION FOR ADMISSION PRO HAC VICE
          I verify that I have fully complied with Local Rule of General Practice and Procedure 83.02 as
 it relates to admission to practice pro hac vice.

  Matthew J. McKenzie                                      United States of America

               Applicant’s Name                                         Representing (Party Name)

  United States Department of Justice                      950 Pennsylvania Ave., NW, Ste. 7700, Washington, DC 20530

                    Name of Firm                                               Office Address

  (202) 514-7845

           Office Telephone Number                                           Office Fax Number

 ___________________________________
 Matthew.Mckenzie@usdoj.gov
             E-mail Address

 Name, Address, and Telephone Numbers of State Bars in which admitted:

  New York Bar (Number 4791513), 254 Washington Ave. Extension, Corporate Plaza, Bldg. 3, Albany, NY 12203, (518) 453-5990




 List all matters before West Virginia tribunals or judicial bodies in which the applicant is or has been
 involved in the preceding twenty-four (24) months:

  N/A




         PROVIDE ATTACHMENT WITH ADDITIONAL INFORMATION IF NECESSARY
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 All matters before West Virginia tribunals or judicial bodies in which any member of applicant’s firm,
 partnership or corporation is or has been involved in the preceding twenty-four (24) months:
  N/A

        PROVIDE ATTACHMENT WITH ADDITIONAL INFORMATION IF NECESSARY

           I understand that admission to practice pro hac vice will result in my registration in the Case
  Management/Electronic Case Filing system. By this registration, I agree to abide by the requirements
  set forth in the Federal Rules, Federal Statutes and the Local Rules, Administrative Orders, procedures
  and policies of the United States District Court for the Northern District of West Virginia. (See
  https://racerweb.wvnd.uscourt.gov for further information).
           I understand that attorneys admitted pro hac vice will have privileges to view official docket
  sheets and documents associated with cases and query case reports for cases on the CM/ECF system
  using the Court-assigned read only login and password, and that I must submit all filings electronically
  through local counsel. Registration constitutes my consent to service by electronic means pursuant
  to the Federal Rules.
           I understand that as a lawyer employed by the Department of Justice, I am exempt from paying
  the fee payable to the Clerk of the Court of the United States District Court for the Northern District
  of West Virginia, that is normally required for pro hac vice applications.
           I certify that the foregoing application is true and correct. I hereby represent that I am a
  member in good standing with the bar of every jurisdiction in which I am admitted and my privileges
  to practice law and my membership in any bar association have never been amended, modified,
  suspended, revoked or otherwise limited in any way in any court, district, state, commonwealth or other
  jurisdiction. I also certify that I have never been convicted of a felony. I agree to comply with all laws,
  rules, and regulations of the United States Courts where applicable.

          If unable to make the above representation, please attach an explanation.
                                                     V0DWWKHZ-0F.HQ]LH
                                                                     Signature of Applicant
  Jarod J. Douglas                                  U.S. Attorney's Office
    Name of Responsible Local Attorney                                  Name of Firm
  (304) 234-0100                                    Federal Courthouse, 1125 Chapline Street, Wheeling, WV 26003

            Office Telephone Number                                      Office Address
  Jarod.J.Douglas@usdoj.gov
  ___________________________________
           E-mail Address

          Pursuant to Local Rule of General Practice and Procedure 83.02, I have read the foregoing
  application and, by my endorsement hereon, agree to be a responsible local attorney in the above-styled
  matter. I further certify that I am an active member in good standing of the West Virginia Bar and that
  I maintain an actual office in West Virginia from which I practice law on a daily basis.



                                                         V-DURG-'RXJODV
                                                            Signature of Responsible Local Attorney
